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                IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF NEW HAMPSHIRE


K.B., an individual,                       )
                                           )
       Plaintiff,                          )
       v.                                  ) Case No.: 1:19-cv-01213-AJ
                                           ) Judge Andrea K. Johnstone
INTER-CONTINENTAL HOTELS                   )
CORPORATION, WYNDHAM                       )
HOTELS                                     )
AND RESORTS, INC., BEST                    )
WESTERN                                    )
INTERNATIONAL, INC., and                   )
MARRIOTT INTERNATIONAL,                    )
INC.,                                      )
                                           )
       Defendants.                         )

                     STIPULATED NOTICE OF DISMISSAL

      The parties, by and through their undersigned attorneys, hereby agree to

dismiss this case without prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii). Each

party shall bear their own costs. Any claims previously dismissed with prejudice

remain so.

      SO STIPULATED,
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Dated: April 2, 2021

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                          CERTIFICATE OF SERVICE


      I hereby certify that on April 2, 2021, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system, which sent notification of such

filing to all parties and/or counsel of Record.


Dated: April 2, 2021                              /s/ Michael P. Rainboth, Esq.
